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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         Case No. 9:20-MD-02924-ROSENBERG/REINHART

 IN RE: ZANTAC (RANITIDINE)
 PRODUCTS LIABILITY
 LITIGATION,
 _____________________________/

                                     NOTICE OF DISCLOSURE

        This is to notify all parties that the undersigned’s daughter will be working as a paralegal at the

 firm of Williams & Connolly commencing in the summer of 2021. The undersigned’s daughter was a

 college intern at the firm in the summer of 2020. Prior to the internship, the undersigned’s chambers

 contacted the firm and received assurance that the undersigned’s daughter would not participate in any

 work related to this case.

        The Court does not see any conflict of interest. If any party feels that there may be a conflict, a

 motion shall be filed in CM/ECF within seven (7) days of the date of this Notice. Notice given this

 19th day of April, 2021.



                                                      _______________________________
                                                      ROBIN L. ROSENBERG
                                                      UNITED STATES DISTRICT JUDGE
 Copies furnished to Counsel of Record
